

Matter of Williams (2022 NY Slip Op 06535)





Matter of Williams


2022 NY Slip Op 06535


Decided on November 17, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:November 17, 2022

PM-193-22
[*1]In the Matter of Elizabeth April Williams, an Attorney. (Attorney Registration No. 4201497.)

Calendar Date:November 7, 2022

Before:Garry, P.J., Egan Jr., Aarons, Pritzker and Ceresia, JJ.

Elizabeth April Williams, Freehold, New Jersey, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Elizabeth April Williams was admitted to practice by this Court in 2004 and lists a business address in Freehold, New Jersey with the Office of Court Administration. Williams now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Williams's application.
Upon reading Williams's affidavit sworn to September 28, 2022 and filed October 5, 2022, and upon reading the November 4, 2022 correspondence in response by the Chief Attorney for AGC, and having determined that Williams is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Egan Jr., Aarons, Pritzker and Ceresia, JJ., concur.
ORDERED that Elizabeth April Williams's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Elizabeth April Williams's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Elizabeth April Williams is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Williams is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Elizabeth April Williams shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








